                       UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF WISCONSIN


                   COMPLAINT1 AND DEMAND FOR JURY TRIAL


HANNAH GITTINGS;                                )
CHRISTOPHER MCNEAL;                             )
NATHAN PEET; and                                )
CARMEN PALMER,                                  )
                                                )
            Plaintiffs,                         )
                                                )
v.                                              )                        Civil Case No. 2:20-cv-1483
                                                )
KEVIN MATHEWSON, in his individual capacity;    )
KENOSHA GUARD;                                  )
RYAN BALCH, in his individual capacity;         )
BOOGALOO BOIS;                                  )
KYLE RITTENHOUSE, in his individual capacity;   )
FACEBOOK, Inc., a U.S. Corporation,             )
                                                )
            Defendants.                         )
________________________________________________)


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1
 This pleading and all subsequent filings are dedicated to the late Justice Ruth Bader Ginsburg. May we
honor her legacy as we carry on the fight for justice.



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       1.      In our society, heavily armed groups of untrained men are free to possess

ludicrous opinions about Hitler having admirable qualities, Black people being

intellectually inferior to whites, or our government being controlled by Satan-worshipping

pedophiles funded by a Jewish cabal; however, when these beliefs turn into a conspiracy

to deprive the rest of us of our constitutional guarantees through threats, fear, assault,

violence, and murder, then the actions and coordination of these right wing militias become

the subject matter of our law. We have an army. We do not need people playing army—

particularly when their targets are engaged in the expression of fundamental rights.

       2.      The civil rights provisions codified in 42 U.S.C. § 1985 and 42 U.S.C. §

1986 protect us from such harm. They bar private citizens from conspiring for the purpose

of depriving, either directly or indirectly, any person or class of persons of the equal

protections of the laws, or of equal privileges and immunities under the laws. These

Reconstruction era provisions were designed precisely for the scheme that was violently

executed in Kenosha, Wisconsin—a repetition of horrific violence we now experience

across the entire country—where white racist militias use Facebook to broadcast and

publicize a “call to arms” for untrained private citizens to travel across state lines to the

peaceful protests advocating for racial justice in America with assault rifles, tactical gear,

and militia grade equipment.




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        3.      These calls to arms, as one might infer, are not met with the responsible

consideration of concerned citizens, but by violent, racist rhetoric in which militia members

promise to shoot protestors, their desire to literally kill people displayed publicly for all to

see.




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        4.       These threats are, as one might infer again, not issued by thoughtful and

respectful Americans dedicated to the preservation of the republic. Rather, they are people

driven by the most outrageous of conspiracy theories, racist hatred of their fellow citizens

that one hoped went out with the Klu Klux Klan, and disgust towards anyone who thought

that equal protection of the laws was something that ought to be maintained.2




        5.       The violent threats are not disavowed by the administrators of these

Facebook sites who proclaim themselves, as is the case with Defendant Kevin Mathewson,

to be the Commander of the Kenosha Guard; rather, they are adopted through likes and

shares, as well as promoted to elected officials and law enforcement as emblematic of their


2
  42 U.S.C. §§ 1985 and 1986 were part of the Civil Rights Act of 1891, which was signed into law in
response to the KKK and other private citizens mobilizing to deny Black Americans their fundamental
rights.

                                                   3

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militia’s strength. In this instance, the Kenosha Guard’s Call to Arms was picked up by

InfoWars, an alt-right news source whose founders have been banned from numerous

platforms including Facebook, Paypal, and Youtube for promoting hate speech and

violence against U.S. citizens. Infowars’ publication was then proudly shared by

Commander Mathewson and posted to the Facebook page of the Kenosha Chief of Police,

with the following letter:3




3
  The text states:
         Chief Miskinis:
         As you know, I am the Commander of the Kenosha Guard, a local militia. We are mobilizing
tonight and have about 3,000 RSVP’s. We have volunteers that will be in Uptown, downtown, and at the
entrances to other neighborhoods.
         Our effort has made national media.
         https://www.infowars.com/wisconsin-militia-recruiting-citizens-to-patrol-kenosha-after-2nd-
night-of-riots/
         I ask that you do NOT have your officers tell us to go home under threat of arrest as you have
done in the past.
         We are willing to talk to KPD and open a discussion. It is evident, that no matter how many
Officers, deputies, and other law enforcement officers that are here, you will still be outnumbered.
         Thank you,
         Kenosha Guard Commander


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        6.      The planning and preparation exhibited in this post led to Plaintiffs and

other protestors being terrorized, assaulted, harassed, and placed in so much fear when

facing the business end of military grade assault rifles that they determined it was too

dangerous to continue to protest. This was the case with Plaintiff Carmen Palmer, a Black

woman who was forced to flee Kenosha back to Milwaukee with her children and her racial

justice group, but not before having to fix the tires on their cars that were slashed.

        7.      The Boogaloo Bois, another extremist group, also joined the Kenosha

Guard to further the violence. As is now sadly well known, Defendant Kyle Rittenhouse

answered the Call to Arms by driving across state lines from Antioch, Illinois with an

assault rifle, in violation of state law.4 Upon arrival, he liaised with Defendant Ryan Balch,

avowed member of the Boogaloo Bois whose social media, like other members of his

militia, contains Nazi propaganda such as “Truth Will Triumph, Adolph Hitler,” and

“Beyond Europe and the whole world, the international Jewry will be recognized as its

entire demonic threat.”5




              The Boogaloo Bois’ insignia and Balch’s cover photo on his personal Facebook page




4
 He was driven by his mother, Wendy Rittenhouse.
5
 Defendant Balch has his own page on Southern Poverty Law Center’s Hatewatch.
https://www.splcenter.org/hatewatch/2020/08/30/wisconsin-man-who-says-he-marched-rittenhouse-
kenosha-was-immersed-white-supremacist

                                                 5

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        8.       In furtherance of the conspiracy, Defendant Balch assumed the role of

Tactical Advisor of the squad that included Rittenhouse and, along with other armed militia

members, took up preplanned sniper positions on roofs and strategic street corners. This

effectively controlled the ingress and egress of Black Lives Matter protestors around the

Civic Center Park area of downtown Kenosha, the designated meeting point for the protest.

        9.       That is when tragedy struck. Under the command of Tactical Adviser Balch,

the group of coconspirators trailed and harassed Plaintiffs and protestors, scaring them,

arguing, intimidating, and ultimately engaging with them in a parking lot. Defendant

Rittenhouse, under the tactical supervision of Defendant Balch, then shot and killed two

protestors with his assault rifle, as well as shot and grievously injured a third. One of the

protestors who was murdered, Anthony Huber, was the life partner of Plaintiff Hannah

Gittings who, along with experiencing the nightmare of the militias while peacefully

protesting, was forced to watch her best friend and soulmate die.6

        10.      Perhaps the worst part of this organized deprivation of rights and dignity is

that it all could have been prevented. In the days prior to August 25th, Defendant Facebook,

who provides the platform and tools for the Kenosha Guard, Boogaloo Bois, and other

right-wing militias to recruit members and plan events, received more than 400 complaints

and flags concerning the Kenosha Guard site and event page. Reports stated the page was

mired in violent rhetoric, with the reporters expressing that they were deeply concerned the

Kenosha Guard was going out that night looking to intimidate and injure people protesting

the shooting of Jacob Blake. In other words, Facebook received more than 400 warnings

that what did happen was going to occur.


6
  Ms. Gittings was the Plaintiff who was called “dyke” by the militia members, receiving other insults and
threats from them throughout the course of the event.

                                                    6

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       11.     It was only days after Plaintiffs and protestors were forced to flee in terror

and watch their friends and loved ones die that Facebook CEO Mark Zuckerberg issued a

public apology for what he called an “operational mistake.” If we are to adopt the CEO’s

highly sanitized phrase, this “mistake” empowered right wing militias to inflict extreme

violence and deprive Plaintiffs and protestors of their rights. More importantly, Facebook

continues to provide militias with the tools to further their violent conspiracies, at a time

when we are entering into an election period in which the President of the United States—

who openly supports the activities of these militias, while insulting Black Lives Matter and

other racial justice protestors—has declared his intent to contest the forthcoming election.

This refusal to peacefully leave the White House could easily result in the tools and

platform that Facebook continues to provide these armed groups being used to broadcast,

promote, and prepare another Call to Arms, but this time in our nation’s capital.

                             JURISDICTION AND VENUE

       12.     The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331.

       13.     The Court has jurisdiction over the State claims via supplemental

jurisdiction as set forth in 28 U.S.C. § 1367.

       14.     Personal jurisdiction is proper over the parties who are Wisconsin residents,

as well as Defendant Rittenhouse, who travelled to Kenosha and is now facing criminal

charges for his actions there. Defendant Facebook personally availed itself of the

marketplace in Wisconsin, and with its hosting of the event page that gave rise to this

action, established the minimum contacts necessary to satisfy the requirements of in

personum jurisdiction.




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        15.     Venue is proper in the Eastern District of Wisconsin pursuant to 28 U.S.C.

§ 1391(b) because Plaintiff’s claim arose in Kenosha, Wisconsin, which is located in the

Eastern District of Wisconsin.

                               NATURE OF THE ACTION

        16.     This action arises out of the racially motivated conspiracy to deprive

Plaintiffs of their rights as citizens of the United States, in violation of 42 U.S.C. § 1985(3).

All Defendants had knowledge of this conspiracy and failed to prevent the harm to

Plaintiffs, in violation of their duties under 42 U.S.C. § 1986.

        17.     Defendant Facebook was negligent when it failed to remove the Kenosha

Guard home and event pages, despite receiving over 400 reports of the violent rhetoric that

was taking place therein.

        18.     Defendants Mathewson, Balch, and Rittenhouse also committed civil

conspiracy as well as met the elements of intentional and negligent infliction of emotional

distress.

        19.     Plaintiffs demand all damages that occurred due to these violations, as well

as an injunction preventing Facebook from violating its own policies that are supposed to

prevent violent rhetoric, militia groups, and other racially motivated hate groups from

congregating and interacting on its site.

                                            PARTIES

        Plaintiffs:

        20.     Plaintiff Hannah Gittings, 23, was the life partner of Anthony Huber, the

young man of conscience who was shot and killed by Defendant Rittenhouse while trying

to disarm him. Along with watching her partner die, she suffered threats, insults,



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harassment, and intimidation from the Kenosha Guard and Boogaloo Bois, including

having assault rifles pointed directly at her while the militias kenneled protestors. Ms.

Gittings is a single mother who works two jobs and has experienced mental and financial

injury with the militia killing of her partner. She remains stalwart in Anthony’s name, her

conscience driven by the desire to make a better world for her daughter.

        21.      Plaintiff Christopher McNeal is a Black man who has lived in Kenosha for

almost twenty-two years, having attended Bradford High School where he played

cornerback for the Red Devils. Mr. McNeal was confronted, commanded, assaulted, and

harassed, with his movement inhibited by militia members: a Black man being intimidated

and told what he could and could not do, say and could not say, by armed white men.7 Mr.

McNeal sought the help of the Kenosha police, but was unable to distinguish between the

police and the militias, as they appeared to him to be collaborating in their effort to deny

the equal protection of the laws and the rights and privileges enumerated in our

constitution. Mr. McNeal is a tattoo artist whose conscience and engagement comes from

wanting to see Black Americans treated with dignity and respect.

        22.      Plaintiff Carmen Palmer, a forty-year-old Black woman, has lived in

Milwaukee her entire life. She has personally witnessed and experienced discrimination

and violence against Black Americans, so that when she saw the shooting of Jacob Blake,

she decided enough was enough and it was time to raise her voice for justice. After

traveling to Kenosha with her children and social justice church group, she suffered

extensive harm at the hands of the militias, including being threatened with rifles, pepper

sprayed, and having her and her entire group’s tires slashed, trapping them all in Kenosha.


7
 A description of the history of slavery and Jim Crow laws in our country—exactly what the Plaintiffs and
protestors were raising their voices against.

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“It was the scariest experience of my life,” says Ms. Palmer. “And I have seen a lot. I had

to keep it together for my children, but when I got home, I had a panic attack.”

       23.     Plaintiff Nathan Peet, now twenty-eight, has lived in Kenosha since he was

fourteen. He went to both Bradford and Tremper High Schools. He grew up impoverished

and experienced first-hand how poor people and people of color are treated differently in

this society, but instead of turning his back on the issues, he became an engaged,

committed, peaceful activist and independent journalist who live streamed from the event.

       24.     After working a twelve-hour day, he began to see and hear about the violent

threats that were being made on the Kenosha Guard Facebook page about Black Lives

Matter protestors. Though exhausted, he went to the protest to both voice his support for

Black Lives Matter and to document the actions of the militias. Once he arrived, Mr. Peet

was forcibly corralled into the Repair Shop parking lot, where he witnessed the murder of

Defendant Rittenhouse’s first victim. Though he attempted to rescue the man and take him

to the nearby hospital, he was unable to do so due to the lack of space and chaos that had

been generated by the militia’s corralling tactics.

       Defendants:

       25.     Defendant Mathewson is the Commander of the Kenosha Guard. He

operated the Kenosha Guard Facebook page, set up the militia’s event, and issued the Call

to Arms that was publicized around the country. Despite being aware of the explicitly

violent rhetoric and threats on the Kenosha Guard’s Facebook and event page, he continued

to recruit and organize armed militia, stating to law enforcement officials that they had

more than 3000 RSVP’s and an operating plan to guard and block entrances on the streets

around the protest.



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       26.     In furtherance of this scheme to repress and prevent protest on August

25th—and as Commander of the Kenosha Guard—Mathewson took part in and directed

the militia to control access and egress to Civic Center Park and to show force by carrying

assault rifles, side arms, and military grade tactical gear into the heart of an American city,

where citizens were engaged in expression of their fundamental rights and privileges. He

planned, orchestrated, implemented, and took steps in furtherance of a conspiracy designed

to threaten and terrorize U.S. Citizens, which ultimately resulted in murder and violence.

Commander Mathewson’s militia activities, upon information and belief, track with the

killing of George Floyd in Minneapolis. The rise of Black Lives Matter, a racial justice

group embraced by civic organizations and respected corporations around the county,

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seems to have triggered men like Commander Mathewson into forming heavily armed

paramilitary groups, with overwhelmingly white male membership, who hold

conspiratorial and racist beliefs; they then attempt to take over the streets under the facade

of “protecting property,” thereby violating the rights of citizens who tend to be People of

Color—people concerned about social justice, or, in short, the people whom these right

wings militias believe to be less American.

       27.     Defendant Kenosha Guard is an unincorporated association pursuant to

Wis. Stat. chap. 193 and is the Wisconsin-based militia founded by Defendant Commander

Mathewson. The Kenosha Guard put out the Call to Arms on August 24, 2020, that was

welcomed with violent posts by its members and supporters. It embraced, adopted, and

publicized this rhetoric, its members continuing to plan and organize to intimidate and

violate the rights and privileges of Black Lives Matter protestors. In furtherance of this

scheme, the Kenosha Guard engaged in military tactics against Plaintiffs and protestors,

including threats, harassment, assault, the creation of a public nuisance, false assumption

of law enforcement authority and, of course, violence and death. A perfunctory review of

Kenosha Guard members’ social media reveals an organization steeped in white

supremacist propaganda.

       28.     Defendant Ryan Balch is a Wisconsin resident, Nazi sympathizer, and

avowed member of the Boogaloo Bois. Defendant Balch assumed a lead role in “Tactical

Advisement” on the night of August 25th, taking command of the squad that included

Defendant Rittenhouse. It was under Tactical Adviser Balch’s command that the Kenosha

Guard and Boogaloo Bois intimidated, harassed, threatened, and violated the rights and

privileges of Plaintiffs and protestors. Based on his own representations, Tactical Adviser



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Balch was uniquely qualified to assume command and direction of the group that contained

Defendant Rittenhouse. The Southern Poverty Law Center has also noted that Defendant

Balch is a Nazi sympathizer who, through his social media, has expressed admiration for

Adolph Hitler and the Great Replacement Theory.8

         29.      Defendant Boogaloo Bois is an unincorporated association pursuant to Wis.

Stat. chap. 193 and a right-wing militia that has the goal of fomenting race war in America.9

The organization is also known as the Bojahideen, as two members have been recently

charged with providing material support to Hamas, and a third member was allegedly

involved in the recent cold blooded shooting of Sheriff’s Officers in Los Angeles,

California.




         30.      Tactical Advisor Balch is an avowed member of the Boogaloo Bois, and

upon information and belief, recruited the militia to come to Kenosha and engage in the

armed repression of Plaintiffs’ and protestors rights. The Boogaloo Bois, whose name

derives from the upcoming race war and civil unrest they hope to foment, are organized


8
  This theory suggests that white people are being eradicated and systematically replaced by People of Color;
hence the right-wing chant heard from Charlottesville to Kenosha: “You Will Not Replace Us.”
9
  Southern Poverty Law Center Hatewatch on Boogaloo Bois:
https://www.splcenter.org/hatewatch/2020/06/05/boogaloo-started-racist-meme

                                                    13

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through reddit, 4chan, Facebook, and other social media platforms. The Kenosha Guard

and Boogaloo Bois collaborated, planned, orchestrated, participated, executed, and took

steps in furtherance of their assault on protestors on August 25 by, among other actions,

blocking access and egress, commanding and harassing Plaintiffs, as well as engaging in

unauthorized military tactics, armed intimidation, threats, and violence. The Boogaloo Bois

have the following insignia that was seen on at least twenty-armed militia:




       31.     Defendant Ryan Balch is an Illinois resident who traveled to Kenosha,

Wisconsin on August 25 to join the militia movement. After joining a group of similarly-

armed men, he then proceeded to shoot three people.

       32.     Defendant Facebook, Inc. is a Delaware corporation with its principle place

of business in Menlo Park, California. It does business and maintains an active presence in

Wisconsin, and in this instance, provided the social media platform for the Kenosha Guard

and Boogaloo Bois to organize and further their conspiracy. The company received over

400 complaints regarding the Kenosha Guard’s Call to Arms; however, it declined to take

action at the time, later admitting that it made an “operational mistake” in doing so, and

removed the Kenosha Guard page only after two deaths had occurred.

                                         FACTS

       33.     The police shootings of unarmed Black people continue to plague the

United States. To draw attention to the assault of Jacob Blake—who was paralyzed after

being shot four times in the back—the Black Lives Matter movement organized a protest

                                            14

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in Kenosha, Wisconsin. In response, armed militia groups conspired with race-based

animus to violate their rights, harass, intimidate, shoot, and in the case of two protestors,

kill them.

           34.     Facebook, where most of the conspiring took place, failed to act to prevent

this harm to Plaintiffs and other protestors. Despite over 400 reports of the Kenosha

Guard’s event page and its call to arms, as well as the violent rhetoric throughout, Facebook

failed to remove the page from its site until after several deaths, injuries, and extensive

harassment occurred. This shirking of responsibility is not the first time Facebook’s failure

to act has resulted in real-world injuries—the page for the “Unite the Right” rally in

Charlottesville was left live for several weeks, resulting in the murder of peaceful protester

Heather Heyer—and it is time for the company to face actual consequences for its

(in)action.

                                 HISTORY OF THE MILITIAS

           35.     Kenosha Guard: In response to the protests of George Floyd’s death,

Defendant Mathewson founded the Kenosha Guard in June 2020, appointing himself

Commander. He created a Facebook page that described the group as “citizen volunteers

that are ready to protect our great city,” though in an interview he referred to the group as

a militia.10 This militia and its page did not garner much attention until it created the Call

to Arms on August 24.




10
     https://www.bbc.co.uk/sounds/play/m000lyzn

                                                  15

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         36.      Boogaloo Bois: This group began in the early 2010’s, primarily in online

spaces. According to the Southern Poverty Law Center, boogaloo “was frequently

associated with racist violence and, in many cases, was an explicit call for race war. Today

the term is regularly deployed by white nationalists and neo-Nazis who want to see society

descend into chaos so that they can come to power and build a new fascist state.”11

Members are often seen wearing Hawaiian shirts and military fatigues to identify

themselves at protests, in case the assault rifles they carry fail to get the message across.

They communicate and identify through memes,12 insignias, and symbols as well, such as

the igloo flag with Hawaiian print.




11
  https://www.splcenter.org/hatewatch/2020/06/05/boogaloo-started-racist-meme
12
  The use of altered versions of Pepe, the cartoon frog that is a favorite meme of the alt-right, is particularly
common.

                                                      16

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       37.    There is a terrible history of violence associated with the members of this

group. On May 29, 2020, Steven Carrillo was arrested and charged with the murder and

attempted murder of law enforcement officers. The federal complaint linked Carrillo with

the boogaloo movement, stating he was a member of a group called “BoojieBastards: The

Armory” (later “[Redacted]Liberty: The Armory”). The Armory group was not removed

by Facebook until June 17, following coverage of Carrillo’s alleged murder spree.

       38.    The Tech Transparency Project identified 110 new Facebook boogaloo

groups that were created since June 30, 2020, even after Facebook announced it was

banning the boogaloo network. Due to Facebook’s slow and piecemeal approach to

removing this content, group administrators have ample time to adjust their online

strategies. For example, a number of private groups began changing their names to replace

the word “boogaloo” and known derivations like “big igloo,” “boojahideen,” and “big

luau,” with other terms like “[redacted]” and “liberty” in an effort to avoid notice by

Facebook.




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                              EVENTS OF KENOSHA

Defendants Promoted Attendance, Violence, and Imagery Designed to Threaten,
Intimidate, and Harass

       39.    The peaceful protests by Black Lives Matter and its supporters began on

August 23, 2020. A state of emergency was declared, and the National Guard arrived the

next day. On August 24, Commander Mathewson created the event page entitled Armed

Citizens to Protect our Lives and Property—which Mathewson later labeled a “Call to

Arms”—scheduled for August 25. A gathering was also hosted so members of the Kenosha

Guard could choose which area they wished to “protect.”

       40.    The Call to Arms was immediately ratified with violent rhetoric by Kenosha

Guard members, with comments such as “leave a pile of them and burn the bodies” and

“shoot to kill;” these statements were adopted and encouraged by Commander Mathewson

through likes, as well as allowing them to remain on the page. Commander Mathewson

also called the protestors “thugs,” which is a racist dog-whistle used to refer to Black

Americans, and then urged members to “lock and load.”




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       41.     The Call to Arms was also picked up by InfoWars, the right-wing

conspiracy website, which allowed it to gain national attention. Commander Mathewson

then wrote to the Kenosha Chief of Police, stating that the Call to Arms had resulted in

more than 3000 RSVP’s, as well as having been publicized by Infowars.

       42.     Following this publication, now-deleted Reddit threads in the subreddit

r/Kenosha further encouraged violence. One poster claimed they were traveling from

Green Bay with “lots of guns. Lots of pipe bombs. Going to cleanse the streets of rioters.”




                                            19

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       43.     Some of the Reddit posts directly targeted non-whites and “degenerates” of

Kenosha, stating that if they refused to leave “anything that happens to you or your children

will be your fault.” One commenter posted “Time to Purge,” a reply to which stated “You

excited to have a harem of n***** and c***k little girls to abuse and f*** too? I am!”




                                             20

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The Night of August 25: Defendants and Coconspirators Conspire to Commit Acts of
Violence, Intimidation, and Harassment Against the Kenosha Protestors

       44.     Defendants Mathewson and the Kenosha Guard began to gather around 6:00

p.m. the night of August 25. They posted video to the Facebook page urging others to join

them, in addition to a picture noting they were armed and ready.




       45.     In furtherance of the conspiracy, members posted encouragement with

phrases such as “give them hell” and “shoot to kill.” Other members advised to “use hollow

points, they expand on contact.”




                                           21

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       46.     Various members of the Boogaloo Bois joined the Kenosha Guard later that

evening, including Defendant Balch. Upon arriving in Kenosha, he went to Sheridan and

60th Street and found a group of armed men that included Defendant Rittenhouse. He

inserted himself into the group, claiming to be a “Tactical Advisor,” after which they

proceeded to point their assault rifles at protestors, threatening, scaring, insulting, and

harassing them with words such as “dyke” and “faggot,” as well as kenneling and corralling

them into certain areas, telling them where they could and could not go.




                        Defendants Balch and Rittenhouse before the shooting




                                                22

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        47.      Defendant Balch and other coconspirators took up position on roofs in order

to act as snipers, in addition to positioning themselves on strategic street corners so that

protestors could see and feel the assault rifles being trained on them. It further allowed the

coconspirators to control the ingress and egress of protestors around the Civic Center Park

area of Downtown Kenosha, the designated meeting point for the protest. In this manner,

the conspiracy took on the mantel of the police force, though all defendants were fully

aware they were not authorized by the Milwaukee Police Department to do so.13




The Shootings

        48.      When Plaintiff Peet arrived at the Civic Center at approximately 8:30 p.m.

to record the events of the protest, there were roughly fifty militia members in the park and

surrounding areas. They were all carrying assault rifles, pistols as side arms, wearing bullet

proof vests, and sporting other war time tactical gear and communication devices. The men

were combative, aggressively trailing protestors in a belligerent and threatening manner,



13
   Indeed, Kenosha County Sherriff David Beth made an official statement noting that neither the police
department nor any government official directed or consented to this behavior; nor were any members of
the militia deputized, given the men would then become “a liability to me and the county and the state of
Wisconsin.” “Oh Hell No:” Kenosha Sheriff Says Vigilante Group Asked Him to Deputize Them, Chicago
5, Aug. 26, 2020, https://www.nbcchicago.com/ news/local/kenosha-sheriff-says-vigilante-group-asked-
him-to-deputize-them/2329038/

                                                   23

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and kenneling protestors into certain areas that were chaotic and unsafe.14 Both the men on

the ground and the snipers on the roofs were all communicating with each other verbally

and electronically.

           49.      As he was attempting to get out of the kenneling tactic, Mr. Peet witnessed

militia members—including Defendant Balch and his contingent—arguing with protestors.

In addition to the snipers, militias were also blocking off the side roads and exits from the

area, so that he and other protestors were unable to leave this increasingly chaotic and

violent scene. He could not differentiate between the militias and police, who appeared to

be working in coordination.

           50.      Mr. Peet was then forcibly corralled into the Repair Shop parking lot where

he witnessed the murder of Defendant Rittenhouse’s first victim. Thinking he could help

the man, Mr. Peet tried desperately to move him to the nearby hospital, but they were

unable to get free due to the lack of space and chaos that had been generated by the militia’s

tactics.

           51.      Defendant Rittenhouse then fled, with protestors chasing after him, yelling

for police to apprehend the shooter. Anthony Huber, Plaintiff Gittings’s partner, chased

after him, attempting to disarm Rittenhouse with his skateboard in order to protect the lives

of his friends. That was when Rittenhouse fatally shot Anthony, Hannah’s life partner.




14
     This was all recorded on Mr. Peet’s live feed.

                                                      24

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  Crouched down to stabilize his rifle, Defendant Rittenhouse assumed this combat stance following the
                                         death of Anthony Huber

        52.     A third man attempted to disarm Rittenhouse, who shot and severely

wounded him. Rittenhouse then fled the scene. He walked past police with his arms up, his

rifle strapped to his chest, and despite many people yelling that he was the shooter, police

let him leave. Rittenhouse went home to Illinois, where he was then extradited to

Wisconsin on murder charges.

        53.     Since the shooting, many Boogaloo Bois and coconspirators praised and

ratified Rittenhouse’s actions. Claiming he is a hero of the movement, one post referred to

him as one of “the bois.” They also started a collection for Rittenhouse’s defense attorney

fees, which currently sits at over $100,000.




                                                  25

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Plaintiff Palmer’s Harrowing Experience

        54.      Plaintiff Palmer had traveled to Kenosha with a group of approximately

twenty-five other peaceful activists—including her two children—so they could join the

protest. Many of the cars in the caravan had Black Lives Matter stickers and other messages

indicating support for the racial justice movement. While in transit from Milwaukee to

Kenosha, about fifteen cars and trucks driven by white males aggressively tailed their

group.15 The moment they exited the highway into Kenosha, more cars driven by white

men followed them in a threatening manner, causing Plaintiff Palmer to feel like she, her

children, and the rest of the group were in danger. Following their arrival at the Civic

Center area for the protest, they were met by white militia members pointing assault rifles

at them, their laser pointers trained on Plaintiff Palmer and her children.

        55.      Understandably terrified, the group decided they could not safely stay in

Kenosha, and so returned to their cars—where they found their tires slashed.16 As they

were trying to repair the tires so they could drive to safety, three militia members drove up



15
   These seemed to be part of a plan to Plaintiff Palmer, i.e. that trucks from the militia supporters were
stationed and looking for Black people traveling from Milwaukee.
16
   They also saw three white militia members standing alongside where they were parked, laughing at them.

                                                    26

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in a black truck and pepper sprayed—maced—them, causing not only physical pain and

suffering, but the mental anguish and historic dehumanization that comes from armed white

men physically preventing Black Americans from exercising their rights and privileges.

       56.     Having been violently prevented from traveling and exercising their rights

in another locale, Plaintiff and her group tried to find police to make a complaint, but they

were nowhere in sight. They pooled together their spares to replace tires, then drove to a

safer area to strategize a way to travel safely out of Kenosha. However, wherever they

went, they were met with trucks driven by white men who used their vehicles to control

where the group went, blocking their way out of town. After escaping Kenosha—without

being able to take part in the protest—they thankfully made it back to Milwaukee. “It was

the scariest experience of my life,” says Ms. Palmer. “And I have seen a lot. I had to keep

it together for my children, but when I got home, I had a panic attack.”

                                 FACEBOOK’S ROLE

       57.     The successful conspiracy to deprive Plaintiffs of their rights could have

been prevented by Defendant Facebook. Before the shootings took place, the company

received more than 400 reports of the Kenosha Guard and its event page, claiming they

were violating community standards, such as the ban on inciting violence. This constituted

approximately 66% of all events reported that day.17 Following four manual and dozens of

automated reviews, the page remained live until days after the shooting, in contravention




17
   A Kenosha Militia Facebook Event Asking Attendees To Bring Weapons Was Reported 455 Times.
Moderators Said It Didn’t Violate Any Rules., BuzzFeed News, Aug. 28, 2020
https://www.buzzfeednews.com/article/ryanmac/kenosha-militia-facebook-reported-455-times-
moderators?origin=thum

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of Facebook’s policy prohibiting militia groups; instead of removing the page, responses

to the complaints claimed it did not in fact violate Community Standards.18




        58.     Though the company claimed to have removed the event page detailing the

Call to Arms the day following the shootings, it was in fact deleted by Defendant

Mathewson—Facebook did not remove the Kenosha Guard page itself until afterwards.

Facebook CEO Mark Zuckerberg admitted that the corporate giant had made an

“operational mistake” and apologized, but the lethal damage to life and rights had already

been done.

        59.     Moreover, though it labeled Defendant Rittenhouse’s actions as a “mass

murder,” Facebook claimed there were no direct links between his accounts and the

Kenosha Guard page. However, common sense—and, likely, further discovery—counsels

that Rittenhouse would not have known about or traveled to Kenosha but for the Call to

Arms having been widely publicized.

        60.     Having failed in its duty to prevent this foreseeable harm—despite the fact

that almost this exact scenario occurred before, resulting in the death of protestor Heather


18
  How Facebook Failed Kenosha, Buzzfeed News, Sep. 3, 2020, https://www.buzzfeednews.com/article/
ryanmac/facebook-failed-kenosha

                                               28

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Heyer in Charlottesville, Virginia—this time, Facebook’s inaction led to the death of two

protestors, in addition to the harm suffered by Plaintiffs. The enabling and empowering of

militias to conspire with its platform and tools allows white supremacist groups to recruit,

organize, and thrive, while Facebook continues to profit from their activities, and those

who fight for social justice continue to die.

                                   INJURIES SUFFERED

        61.     Plaintiffs suffered the following harm, caused by the actions of Defendants

and coconspirators, which were in furtherance of the conspiracy to deprive Plaintiffs of

their rights:

        62.     Plaintiff Gittings has experienced profound emotional trauma and physical

suffering from seeing her significant other murdered. Not only did this deprive her of the

right to protest on the night in question, it served to have a chilling effect with regard to

her protest rights going forward. In addition to the violence inflicted on her partner, she

also suffered through threats, insults, harassment, and intimidation inflicted on her from

the Kenosha Guard and Boogaloo Bois; the violence of the assault rifles pointed directly

at her, inhibiting her movement, also caused harm.

        63.     Plaintiff Gittings also suffered pecuniary damages, such as Anthony’s

funeral costs and other expenses incurred by his loss. She was prevented from retrieving

her house and car keys from his body or see him until she found a funeral home and had

the ability to pay all costs associated with it.

        64.     Plaintiff McNeal was assaulted, harassed, and had his movement inhibited.

This false imprisonment of a Black man—who was threatened at gun point, and told what

he could and could not do, say and could not say—resulted in severe emotional distress



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and physical harm. As a result of these acts made in furtherance of the conspiracy, Plaintiff

McNeal experienced extreme emotional trauma from being threatened and intimidated by

white armed militia holding racist beliefs—namely that his skin color makes him inferior

and that his rights and life are lesser than those white militia members who took up to arms

to deprive him of those rights.

       65.     Plaintiff Peet suffered extreme emotional distress and physical harm from

witnessing the murder of Defendant Rittenhouse’s first victim, particularly after being

unable to provide aid to the dying man due to the corralling tactics of the militias. The tort

of false imprisonment also caused damage.

       66.     Plaintiff Palmer was physically harmed when she was assaulted with pepper

spray. In addition to monetary damages, she also suffered extreme emotional distress as a

result of having her tires slashed and being physically prevented from leaving Kenosha.

The false imprisonment tort that occurred also resulted in damages.

       67.     Additionally, since the armed militias conspired together to terrorize

Plaintiffs and protestors in Kenosha, the size of constitutionally-protected protest in

Kenosha has greatly diminished out of fear of having to protest at the end of a sniper rifle.

The Call to Arms and organizing between these militias resulted in terror, fear, and murder.

These militias are not police officers or law enforcement and lack training with regard to

constitutional rights and protest control, yet assumed the role of law enforcement by

conspiring together to control and repress protest rights by creating the real risk that legal

protest can result in being assaulted, threatened, shot, or killed by organized groups of

citizens who hold deeply irrational beliefs about race, history, and American society.




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                                  CAUSES OF ACTION

                              COUNT I: 42 U.S.C. § 1985(3)

       68.     Plaintiffs incorporate by reference the averments contained in all

proceeding paragraphs.

       69.     This Count is brought by all Plaintiffs against Defendants Mathewson, the

Kenosha Guard, Balch, Boogaloo Bois, and Rittenhouse.

       70.     The above-named Defendants engaged in a racially motivated conspiracy

to deprive Black people and their supporters of their constitutionally protected rights under

the Thirteenth Amendment to be free from violence, intimidation, and harassment, as well

as prevented them from utilizing their right of freedom to travel. See Griffin v.

Breckenridge, 403 U.S. 88 (1971). The Defendants also committed various torts against

Plaintiffs, including but not limited to civil conspiracy, intentional infliction of emotional

distress, and false imprisonment. This conspiracy resulted in injury to all Plaintiffs.

       71.     As Against Defendants Mathewson and the Kenosha Guard: Mathewson

founded the Kenosha Guard and claims to be its Commander. He then created a Facebook

page for the group, which attracted many members who espoused racist rhetoric, as well

as the event page that started the deadly events of Kenosha. His discussions with the group

members, his statement to the Police Chief, as well as his use of racist dog whistles all

establish he entered into an agreement with other coconspirators of the Kenosha Guard to

engage in racially motivated violence.

       72.     The group itself is a collection of members clearly motivated by racial

animus, who armed themselves with the intention of depriving Plaintiffs of their rights as




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American citizens. Their claim that they desired to “protect property” is belied by the

violent rhetoric espoused by group members and its affiliates on Reddit.

       73.     As Against Defendants Balch, Boogaloo Bois, and Rittenhouse: According

to his own Facebook post, Balch “joined a contingent of militia . . . headed to Kenosha

Wisconsin,” and “after infiltrating Kenosha . . . . inserted [himself] into a tactical

advisement role” in the group of armed men that included Rittenhouse. This constituted

the overt act in which he joined the conspiracy started by Mathewson and the Kenosha

Guard.19

       74.     Both Balch and Rittenhouse communicated extensively during the time that

led up to Rittenhouse shooting three people, furthering the conspiracy to prevent Plaintiffs’

freedom of movement, as well as depriving them of their right to be free from harassment,

assault, and fear of death. Given Balch’s previous history supporting white nationalist and

Nazi propaganda, his intent to engage in the racially-motivated deprivation of rights

suffered by Plaintiffs is evident.

       75.     The Boogaloo Bois were represented in Kenosha by other members of the

group—consisting of as-yet unidentified coconspirators—in addition to Balch. This group,

with its history of supporting the white supremacist movement, was instrumental in

furthering the conspiracy to injure Plaintiffs.

       76.     Given the above facts, the elements of 42 U.S.C. § 1985(3) are met, and

Defendants are liable to Plaintiffs for the harm caused.




19
  Plaintiffs believe further discovery will show Balch communicated specifically with Commander
Mathewson and other Kenosha Guard members before arriving in Kenosha on August 25th.


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                              COUNT II: 42 U.S.C. § 1986

       77.     Plaintiffs incorporate by reference the averments contained in all

proceeding paragraphs.

       78.     This Count is brought by all Plaintiffs against all Defendants.

       79.     As alleged in Count I, a conspiracy occurred pursuant to section 1985(3)

that resulted in injury to Plaintiffs. The facts show Defendants Mathewson, the Kenosha

Guard, Balch, Boogaloo Bois, and Rittenhouse all participated actively in the conspiracy,

and therefore had the power to prevent the violence that occurred.

       80.     With regard to Defendant Facebook, there were over 400 reports of the

violent rhetoric taking place on the Kenosha Guard event page, establishing Facebook had

ample knowledge of the conspiracy. Removing this page from its platform would have

greatly aided in preventing the organization and popularization of the militias. Perhaps, if

Facebook had taken down the page in accordance with its policies, Rittenhouse would

never have traveled to Kenosha. Nonetheless, Facebook neglected to prevent the

furtherance of the conspiracy, in violation of its duties enumerated in 42 U.S.C. § 1986.

       81.     With these allegations, Plaintiffs have met the elements of 42 U.S.C. § 1986,

and therefore all Defendants are liable for the harms Plaintiffs suffered.

                              COUNT III: NEGLIGENCE

       82.     Plaintiffs incorporate herein the averments contained in all prior paragraphs.

       83.     This count is brought by all Plaintiffs against Defendant Facebook.

       84.     In violation of Wisc. Stat. § 895.045 and the common law standard set forth

in Wisconsin case law, Facebook breached its duty to stop the violent and terroristic threats

that were made using its tools and platform. A duty consists of “the obligation of due care



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to refrain from any act which will cause foreseeable harm to others . . . . A defendant’s

duty is established when it can be said that it was foreseeable that [the] act or omission to

act may cause harm to someone.” Coffey v. Milwaukee, 74 Wis. 2d 526, 536 (1976)

(internal citations omitted).

       85.     By its own admission, Facebook failed to heed the more than 400

complaints that were issued against the Kenosha Guard Facebook page—an omission that

caused foreseeable harm to Plaintiffs. The CEO of Facebook himself, Mark Zuckerberg,

admitted that the company’s failure was an operational error and that the corporation had

made a mistake; it then proceeded to remove the Kenosha Guard Facebook page, but the

harm had already been done.

       86.     This “mistake”— the breach and failure to exercise due care—empowered

and enabled the militias’ conspiracy to threaten, intimidate, and harass Plaintiffs and

protestors, resulting in serious harm to Plaintiffs. But for Facebook’s failure to respond to

the complaints about the Kenosha Guard’s call to Arms and the coconspirators’ violent

rhetoric, the Kenosha Guard would not have been able to amplify its message and summon

armed, untrained militia members to assault and terrorize Plaintiffs. As a result of this

inaction, Facebook is liable for the harm its negligence caused.

                           COUNT IV: CIVIL CONSPIRACY

       87.     Plaintiffs incorporate herein the averments contained in all prior paragraphs.

       88.     This count is brought by all Plaintiffs against Defendants Mathewson,

Kenosha Guard, Balch, the Boogaloo Bois, and Rittenhouse.

       89.     As previously alleged, Defendants relevant to this Count conspired to

commit various unlawful acts, which are set forth in the following paragraphs.



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       90.      It is a Class I felony to violate Wis. Stat. § 946.69(2), which forbids civilians

to act in an official capacity or perform an official function, knowing they are not a public

officer or otherwise authorized to do so by law enforcement. When Defendants controlled

the ingress and egress of protestors by positioning themselves—with rifles pointed at the

protestors—on strategic corners and rooftops, as well as told protesters where they were

and were not allowed to go, they acted in an official capacity, performing the duties of

officers of the peace. Therefore, their actions were in violation of Wis. Stat. § 946.69(2).

       91.      Rifles being pointed at protestors with the intent to intimidate also

constitutes harassment with a credible threat of violence, which is a misdemeanor pursuant

to Wis. Stat. § 947.013(1r)(a). These actions further violate Wisconsin’s prohibition on

disorderly conduct, as set forth in Wis. Stat. § 947.01(1). More importantly, though, Wis.

Stat. § 939.645 protects people and property from being targeted on the basis of race,

religion, sexual orientation, or national origin. Defendants and coconspirators violated this

section when they hurled homophobic slurs, aimed military grade assault rifles at Plaintiffs,

and otherwise threatened and harassed them because of their race or their support of Black

Lives Matter.

       92.      Additionally, the tactics to restrict the protestors’ movements meets the

elements of both the tort and Wisconsin Class H felony of false imprisonment, as codified

in Wis. Stat. § 940.30. With the intent to confine Plaintiffs to small, chaotic areas, with no

lawful authority to do so and without consent, Defendants’ conduct satisfies the statute’s

elements. Though this applies to all Plaintiffs—as each one was at some point confined

due to Defendants’ and coconspirators’ corralling and herding tactics—this allegation is

particularly apt with regard to Plaintiff Palmer. Not only were she and her family confined



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to their cars while being harassed by the men in trucks with their pepper spray, they were

prevented from leaving Kenosha entirely when each car’s tires were slashed.

         93.      As detailed in Count I, Defendants formed an agreement to harass and

threaten protestors, following through with overt actions to further this conspiracy. This

resulted in violations of several Wisconsin statutes by Defendants and coconspirators,

which caused great harm to Plaintiffs. Therefore, the actions of the above-named

Defendants constitute conspiracy within the meaning of Wisconsin law. See City of

Milwaukee v. NL Indus., Inc., 278 Wis. 2d 313, 328–29 (Ct. App. 2004) (“To state a cause

of action for civil conspiracy, the complaint must allege: (1) The formation and operation

of the conspiracy; (2) the wrongful act or acts done pursuant thereto; and (3) the damage

resulting from such act or acts.”).

               COUNT V: INTENTIONAL & NEGLIGENT INFLICTION
                          OF EMOTIONAL DISTRESS

         94.      Plaintiffs incorporate herein the averments contained in all prior paragraphs.

         95.      This count is brought by all Plaintiffs against Defendants Mathewson,

Balch, Rittenhouse, and all as-yet-unidentified coconspirators.20

         96.      The intentional, extreme, and outrageous conduct by Defendants caused

severe emotional distress to all Plaintiffs. Falsely imprisoned through the use of assault

rifles, forced to hear slurs hurled at them, Black people being told what to do by armed

white men—this all caused Plaintiffs to feel understandable, extreme distress.




20
  Defendants are liable for torts committed by their coconspirators that were a reasonably foreseeable result
of the conspiracy. See Edwardson v. American Family Mut. Ins. Co., 223 Wis. 2d 754, 760 (Ct. App. 1998).
The violence, threats, and intimidation visited upon Plaintiffs by all coconspirators is a reasonably
foreseeable result of an agreement to harass protestors.

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          97.    Even more terribly, though, Plaintiffs Peet and Gittings were forced to

watch someone die, and in the case of Gittings, she witnessed the murder of her life partner.

This conduct is clearly outrageous and beyond the bounds of all human decency. Therefore,

the above-named Defendants are liable to Plaintiffs under the theory of intentional

infliction of emotional distress, as described in Alsteen v. Gehl, 21 Wis. 2d 349, 360–61

(1963).

          98.    Alternatively, Defendants are liable under the theory of negligent infliction

of emotional distress. The actions detailed in this complaint were, in a very generous sense,

at least negligent. The resulting injury suffered by all Plaintiffs as a result of their conduct

satisfy each element of the claim. See Bowen v. Lumbermens Mut. Cas. Co., 183 Wis. 2d

627, 652–53 (1994) (“the traditional elements of a tort action in negligence—negligent

conduct, causation and injury (here severe emotional distress)—should serve as the

framework for evaluating a bystander’s claim of negligent infliction of emotional

distress”).

                                  PRAYER FOR RELIEF

Wherefore, Plaintiffs respectfully request an award of the following relief:

          99.    A declaratory judgment that the actions described herein deprived Plaintiffs

of their rights and guarantees under federal and state law.

          100.   Injunctive relief enjoining Defendants from future violations of Plaintiffs’

rights guaranteed under federal and state law, in addition to an injunction preventing

Defendant Facebook from violating its own policies that are designed to prevent violence,

racial animosity, and violations of federal and state law.

          101.   Compensatory and statutory damages at an amount to be determined at trial.



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      102.   Punitive damages at an amount to be determined at trial.

      103.   Attorney fees and court costs pursuant to 42 U.S.C. § 1988, as applicable to

42 U.S.C. §§ 1985–86.

      104.   Such other relief as the Court deems just and proper.




                                               Respectfully submitted,


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